       Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 1 of 18 PageID 1




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

MARTHA JOHNSTON,                              )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )        No. 8:23-cv-00038
                                              )
MITCHELL & LYNN JUDGEMENT                     )
RECOVERY SOLUTIONS LLC, and                   )
JUSTIN LAURER,                                )
                                              )
       Defendants.                            )

                               PLAINTIFF’S COMPLAINT

       Plaintiff, MARTHA JOHNSTON, by and through her attorneys, alleges the following

against Defendants, MITCHELL & LYNN JUDGEMENT RECOVERY SOLUTIONS LLC and

JUSTIN LAURER (hereinafter “Mitchell & Lynn” and “Laurer” respectively and “Defendants”

collectively):

                                     INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

       U.S.C. § 1692 et seq. (“FDCPA”).

   2. Count II of Plaintiff’s Complaint is based on the Florida Consumer Collection Practices

       Act, Fla. Stat. § 559.72 (“FCCPA”).

                              JURISDICTION AND VENUE

   3. This court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337, and 1367.

   4. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”
                                               1
   Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 2 of 18 PageID 2




5. This court has supplemental jurisdiction over the state claim alleged herein pursuant to 28

   U.S.C. § 1367 it is “so related to claims in the action within such original jurisdiction that

   they form part of the same case or controversy.”

6. Venue and personal jurisdiction in this district are proper because Defendants do or transact

   business within this district, and a material portion of the events at issue occurred in this

   district.

                                         PARTIES

7. Plaintiff is a natural person residing in Plant City, Hillsborough County, State of Florida.

8. Plaintiff is a consumer as that term is defined by the FDCPA and the FCCPA.

9. Plaintiff allegedly owes a debt as that term is defined by the FDCPA and the FCCPA.

10. Defendants are debt collectors as that term is defined by the FDCPA and the FCCPA.

11. Within the last one year, Defendants attempted to collect a consumer debt from Plaintiff

   (FDCPA).

12. Within the last two years, Defendants attempted to collect a consumer debt from Plaintiff

   (FCCPA).

13. Mitchell & Lynn is a California limited liability company and located in the City of

   Murrieta, Riverside County, State of California.

14. Laurer is a natural person residing in the State of California.

15. Defendants are business entities and/or individuals engaged in the collection of debt within

   the State of Florida.

16. Defendants’ businesses include, but are not limited to, collecting on unpaid, outstanding

   account balances.

17. When an unpaid, outstanding account is placed with Mitchell & Lynn it is assigned a file
                                              2
   Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 3 of 18 PageID 3




   number.

18. The principal purpose of Mitchell & Lynn’s business is the collection of debts allegedly

   owed to, or originally owed to, third parties.

19. Mitchell & Lynn regularly collects, or attempts to collect, debts allegedly owed to, or

   originally owed to, third parties.

20. During the course of their attempts to collect consumer debts, Defendants send to alleged

   debtors bills, statements, and/or other correspondence, via the mail and/or electronic mail,

   and initiate contact with alleged debtors via various means of telecommunication, such as

   by telephone and facsimile.

21. Defendants acted themselves and through their agents, employees, officers, members,

   directors,   heirs,   successors,    assigns,   principals,   trustees,   sureties,   subrogees,

   representatives, and insurers.

                              FACTUAL ALLEGATIONS

PLAINTIFF v. MITCHELL & LYNN JUDGEMENT RECOVERY SOLUTIONS LLC

22. Defendants are attempting to collect a consumer debt from Plaintiff, allegedly owed by

   Plaintiff arising from an unpaid Kay Jewelers account.

23. Defendants assigned 4440204 to the alleged as their internal file number.

24. Plaintiff’s alleged debt arises from transactions for personal, family, and household

   purposes.

25. Plaintiff does not owe the alleged debt.

26. Mitchell & Lynn uses the name Summit Judgment Solutions in its communications with

   Plaintiff.

27. Summit Judgment Solutions is not a juridical entity.
                                               3
   Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 4 of 18 PageID 4




28. Mitchell & Lynn is not registered to do business in the State of Florida.

29. Summit Judgment Solutions is not registered to do business in the State of Florida.

30. Summit Judgment Solutions is not a registered assumed or fictious name for Mitchell &

   Lynn in Hillsborough County, State of Florida.

31. Summit Judgment Solutions is not a registered assumed or fictious name for Mitchell &

   Lynn anywhere in the State of Florida.

32. Mitchell & Lynn has been attempting to collect the alleged debt from Plaintiff by calling

   Plaintiff’s telephone at 863-852-0838.

33. Mitchell & Lynn calls Plaintiff from, at least, 888-611-3550, which is one of Mitchell &

   Lynn’s telephone numbers.

34. In or around February 2022, Plaintiff spoke to one of Mitchell & Lynn’s collectors.

35. During the above-referenced call:

       a. Mitchell & Lynn’s collector attempted to collect the alleged debt from Plaintiff;

       b. Plaintiff disputed owing the alleged debt because she has never had a Kay Jewelers

           account; and

       c. Mitchell & Lynn’s collector threatened Plaintiff that Mitchell & Lynn would take

           her house or car if Plaintiff did not pay the alleged debt.

36. Mitchell & Lynn also sends documents to Plaintiff in an attempt to collect the alleged debt.

37. Attached hereto as Exhibit A is a phony Complaint for Money, complete with a phony

   caption, phony case number, and signed by a phony attorney, which Plaintiff received in

   the mail from Mitchell & Lynn, in an attempt to collect the alleged debt from Plaintiff.

38. The phony Complaint for Money is signed by Shawn Bradley.

39. There is no lawyer licensed to practice law in the State of Florida named Shawn Bradley
                                              4
       Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 5 of 18 PageID 5




       according to The Florida Bar Lawyer Directory. 1

    40. Arguendo, even if Shawn Bradley was not posing as a lawyer, it would be improper for a

       non-lawyer to attempt to represent a limited liability company (Mitchell & Lynn is a

       limited liability company) in a court proceeding.

    41. Mitchell & Lynn’s above-referenced actions were calculated to coerce and frighten

       Plaintiff into payment of the alleged debt.

    42. To date, Plaintiff has not paid the alleged debt.

    43. To date, Mitchell & Lynn has not sued Plaintiff.

    44. Mitchell & Lynn has never intended to sue Plaintiff.

    45. The natural consequences of Mitchell & Lynn’s statements and actions was to produce an

       unpleasant and/or hostile situation between Mitchell & Lynn and Plaintiff.

    46. The natural consequences of Mitchell & Lynn actions was to cause Plaintiff mental

       distress.

    47. The natural consequences of Mitchell & Lynn’s actions was to unjustly condemn and

       vilify Plaintiff for her non-payment of the alleged debt.

    48. Mitchell & Lynn’s actions constitute an invasion of Plaintiff’s individual privacy and

       Plaintiff has suffered a concrete and particularized injury to her legally protected interest

       of her individual privacy

                                PLAINTIFF v. JUSTIN LAURER

    49. Laurer is the owner of Mitchell & Lynn.




1
 https://www.floridabar.org/directories/find-
mbr/?lName=bradley&fName=shawn&sdx=N&eligible=N&deceased=N&pageNumber=1&pageSize=10 (last
accessed Dec. 22, 2022).
                                              5
   Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 6 of 18 PageID 6




50. Laurer is the sole member of Mitchell & Lynn.

51. Laurer is the managing member of Mitchell & Lynn.

52. At all relevant times, acting alone or in concert with others, Laurer has formulated, directed,

   controlled, had the authority to control, or participated in the acts and practices of Mitchell

   & Lynn and its employees, including the acts and practices set forth in this Complaint.

53. Employees can be held personally liable under the FDCPA. Robinson v. Managed

   Accounts Receivable Corp., 654 F. Supp. 2d 1051 (C.D. Cal. 2009); see also, Schwarm v.

   Craighead, 552 F. Supp. 2d 1056 (E.D. Cal 2008).

54. Most courts that have addressed the issue have held that the corporate structure does not

   insulate shareholders, officers, members, or directors from personal liability under the

   FDCPA. See Schwarm v. Craighead, 552 F. Supp. 2d 1056 (E.D. Cal. 2008); Kistner v.

   Law Offices of Michael P. Margelefsky, LLC, 518 F.3d 433 (6th Cir. 2008); Teng v. Metro.

   Retail Recovery, Inc., 851 F. Supp. 61 (E.D.N.Y. 1994); Del Campo v. Kennedy, 491 F.

   Supp. 2d 891 (N.D. Cal. 2006); Brumbelow v. Law Offices of Bennett & Deloney, P.C.,

   372 F. Supp. 2d 615 (D. Utah 2005); Albanese v. Portnoff Law Associates, Ltd., 301 F.

   Supp. 2d 389 (E.D. Pa. 2004); Brink v. First Credit Res., 57 F. Supp. 2d 848 (D. Ar. 1999);

   Pikes v. Riddle, 38 F. Supp. 2d 639 (N.D. Il. 1998); Ditty v. CheckRite, 973 F.Supp. 1320

   (D. Utah 1997).

                         COUNT I
DEFENDANTS VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

55. Defendants violated the FDCPA based on the following:

       a. Defendants violated § 1692d of the FDCPA by engaging in conduct that the natural

           consequences of which was to harass, oppress, and abuse Plaintiff in connection

                                              6
Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 7 of 18 PageID 7




      with the collection of an alleged debt when Mitchell & Lynn engaged in all of the

      harassing misconduct alleged above, including attempting to coerce Plaintiff into

      paying the alleged debt with unlawful and empty threats;

   b. Defendant violated § 1692d(6) of the FDCPA by its placement of telephone calls

      without meaningful disclosure of the caller’s identity when Mitchell & Lynn’s

      collector failed to disclose that they were calling from Mitchell & Lynn Judgement

      Recovery Solutions, LLC;

   c. Defendants violated § 1692e of the FDCPA by their use of any false, deceptive, or

      misleading representation or means in connection with the collection of any debt

      when Mitchell & Lynn engaged in at least the following discrete violations of

      § 1692e;

   d. Defendants violated § 1692e(2)(A) of the FDCPA by their false representation of

      the character, amount, or legal status of any debt when Mitchell & Lynn’s collector

      made unlawful and empty threats of legal action against Plaintiff and by Mitchell

      & Lynn mailing a phony Complaint for Money to Plaintiff;

   e. Defendants violated § 1692e(3) of the FDCPA by their false representation or

      implication that any individual is an attorney or that any communication is from

      an attorney when Mitchell & Lynn sent a phony Complaint for Money to Plaintiff,

      with the implication that Shawn Bradley was a lawyer;

   f. Defendants violated § 1692e(4) of the FDCPA by their representation or

      implication that nonpayment of any debt will result in the seizure, garnishment,

      attachment, or sale of any property or wages of any person unless such action is

      lawful and the debt collector or creditor intends to take such action when Mitchell
                                       7
Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 8 of 18 PageID 8




      & Lynn’s collector made unlawful and empty threats of legal action against

      Plaintiff and by Mitchell & Lynn mailing a phony Complaint for Money to

      Plaintiff;

   g. Defendants violated § 1692e(5) of the FDCPA by their threat to take any action

      that cannot legally be taken or that is not intended to be taken when Mitchell &

      Lynn’s collector made unlawful and empty threats of legal action against Plaintiff

      and by Mitchell & Lynn mailing a phony Complaint for Money to Plaintiff;

   h. Defendants violated § 1692e(10) of the FDCPA by their use of any false,

      deceptive, or misleading representation or means in connection with the collection

      of any debt when Mitchell & Lynn engaged in at least the other discrete violations

      of § 1692e alleged herein;

   i. Defendants violated § 1692e(11) of the FDCPA by their failure to disclose in the

      phony Complaint at Law that Mitchell & Lynn was a debt collector and was

      attempting to collect a debt and that any information obtained would be for that

      purpose;

   j. Defendants violated § 1692e(13) of the FDCPA by their false representation or

      implication that documents are legal process when Mitchell & Lynn sent a phony

      Complaint at Law to Plaintiff;

   k. Defendants violated § 1692e(14) of the FDCPA by their use of any business,

      company, or organization name other than the true name of the debt collector’s

      business, company, or organization when it attempted to collect from Plaintiff

      using the name, Summit Judgment Solutions;

   l. Defendants violated § 1692f of the FDCPA by their use of unfair or
                                       8
      Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 9 of 18 PageID 9




              unconscionable means to collect or attempt to collect any debt when Mitchell &

              Lynn engaged in all of the foregoing misconduct;

          m. Defendants violated § 1692f(1) of the FDCPA by their attempted collection of any

              amount (including any interest, fee, charge, or expense incidental to the principal

              obligation) unless such amount is expressly authorized by the agreement creating

              the debt or permitted by law when Mitchell & Lynn attempted to collect a debt

              from Plaintiff that Plaintiff does not owe;

          n. Defendants violated § 1692g(a)(3) of the FDCPA by Mitchell & Lynn ignoring

              Plaintiff’s oral dispute of the alleged debt and continuing to assume the validity of

              the alleged when Mitchell & Lynn threatened to Plaintiff’s car and home if she did

              not pay the alleged debt;

          o. Defendants violated § 1692g(b) of the FDCPA by engaging in collection activities

              and communication that overshadowed or was inconsistent with the disclosure of

              the consumer’s right to dispute the debt when Mitchell & Lynn ignored Plaintiff’s

              oral dispute of the alleged debt and threatened to take Plaintiff’s car and home if

              she did not pay the alleged debt.

      WHEREFORE, Plaintiff, MARTHA JOHNSTON, respectfully requests judgment be

entered, both jointly and severally, against Defendants, MITCHELL & LYNN JUDGEMENT

RECOVERY SOLUTIONS LLC and JUSTIN LAURER, for the following:

   56. Actual damages, to be determined at trial, pursuant to the Fair Debt Collection Practices

      Act, 15 U.S.C. § 1692k.

   57. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. § 1692k.
                                                  9
 Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 10 of 18 PageID 10




58. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

   15 U.S.C. § 1692k.

59. Any other relief that this Honorable Court deems appropriate.

                             COUNT II:
                      DEFENDANT VIOLATED THE
            FLORIDA CONSUMER COLLECTION PRACTICES ACT

60. Plaintiff repeats and realleges paragraphs 1-54 of Plaintiff’s Complaint as the allegations

   in Count II of Plaintiff’s Complaint.

61. Defendants violated the FCCPA based on the following:

       a. Defendants violated § 559.72(7) of the FCCPA by willfully engaging in other

           conduct which can reasonably be expected to abuse or harass the debtor or any

           member of her or his family when Mitchell & Lynn made unlawful and empty

           threats of legal action against Plaintiff;

       b. Defendants violated § 559.72(9) of the FCCPA by claiming, attempting, or

           threatening to enforce a debt when such person knows that the debt is not

           legitimate, or assert the existence of some other legal right when such person

           knows that the right does not exist when Mitchell & Lynn made empty threats of

           legal action against Plaintiff for a debt that Plaintiff does not owe;

       c. Defendants violated § 559.72(10) of the FCCPA by using a communication that

           simulates in any manner legal or judicial process or that gives the appearance of

           being authorized, issued, or approved by a government, governmental agency, or

           attorney at law, when it is not when Mitchell & Lynn sent a phony Complaint at

           Law to Plaintiff, signed by a phony lawyer; and

       d. Defendants violated § 559.72(11) of the FCCPA by communicating with a debtor
                                              10
    Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 11 of 18 PageID 11




             under the guise of an attorney by using the stationery of an attorney or forms or

             instruments that only attorneys are authorized to prepare when Mitchell & Lynn

             sent a phony Complaint at Law to Plaintiff, signed by a phony lawyer.

      WHEREFORE, Plaintiff, MARTHA JOHNSTON, respectfully requests judgment be

entered, both jointly and severally, against Defendants, MITCHELL & LYNN JUDGEMENT

RECOVERY SOLUTIONS LLC and JUSTIN LAURER, for the following:

   62. Actual damages, to be determined at trial, pursuant to the Florida Consumer Collection

      Practices Act, Fla. Stat. § 559.77;

   63. Statutory damages of $1,000.00 pursuant to the Florida Consumer Collection Practices

      Act, Fla. Stat. § 559.77;

   64. Costs and reasonable attorney’s fees pursuant to the Florida Consumer Collection

      Practices Act, Fla. Stat. § 559.77;

   65. Punitive damages and equitable relief, including enjoining Defendant from further

      violations, pursuant to Florida Consumer Collection Practices Act, Fla. Stat. § 559.77(2);

      and




                                              11
     Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 12 of 18 PageID 12




   66. Any other relief that this Honorable Court deems appropriate.

                                           RESPECTFULLY SUBMITTED,

January 6, 2022                     By: /s/ Shireen Hormozdi Bowman
                                            Shireen Hormozdi Bowman
                                            Florida Bar No. 0882461
                                            AGRUSS LAW FIRM, LLC
                                            4809 N. Ravenswood Avenue, Suite 419
                                            Chicago, IL 60640
                                            -and-
                                            HORMOZDI LAW FIRM, LLC
                                            1770 Indian Trail Lilburn Road, Suite 175
                                            Norcross, GA 30093
                                            Tel: 312-224-4695
                                            Direct: 678-960-9030
                                            Fax: 312-253-4451
                                            shireen@agrusslawfirm.com
                                            Attorney for Plaintiff




                                              12
Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 13 of 18 PageID 13




                  EXHIBIT A




                                 13
Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 14 of 18 PageID 14
Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 15 of 18 PageID 15
Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 16 of 18 PageID 16
Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 17 of 18 PageID 17
Case 8:23-cv-00038 Document 1 Filed 01/06/23 Page 18 of 18 PageID 18
